Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 1 of 15




         EXHIBIT 6
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 2 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 3 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 4 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 5 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 6 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 7 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 8 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 9 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 10 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 11 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 12 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 13 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 14 of 15
Case No. 1:13-cr-00392-CMA Document 249-7 filed 08/14/14 USDC Colorado pg 15 of 15
